IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA

Vv. 2 Case No: CR-2-605-134

DUNYASHA MON YETTS

rd

Judge HOLSCHUH

PLEA AGREEMENT

Plaintiff United States of America and Defendant DUNYASHA
YETTS hereby enter into the following Plea Agreement pursuant to
Rule li(c) of the Federal Rules of Criminal Procedure:

i. Defendant DUNYASHA YETTS will enter a plea of guilty to
Counts 1 and 2 of the Indictment which charge him with mail fraud
in violation of 18 U.S.C. §1341 and Count 9 which charges him
with conspiracy to distribute and possess with intent to
distribute marijuana, in violation of 21 U.§.C §841(a} (1) and
§846.

2. Defendant DUNYASHA YETTS understands the penalty that
may be imposed pursuant to his pleas of guilty on Counts 1 and 2
is a maximum term of imprisonment of 20 years, a fine up to
$250,000 and a term of supervised release of at least 3 years.
The penalty that may be imposed on Count 9 of the Indictment is a
maximum term of imprisonment of 20 years, a fine up to $1,006,000

and at least a three year term of supervised release.
3. Prior to or at the time the Defendant is sentenced, the
Defendant will pay a special assessment of $300.00 as required in
18 U.S.C. §3013. This assessment shall be paid by the Defendant
before sentence is imposed and Defendant will furnish a receipt
at the time of sentencing. The payment shall be made to the
United States District Court, at the Clerk's Office, Room 260, 85
Marconi Boulevard, Columbus, Ohio 43215.

4. tf such a plea of guilty is entered, and not withdrawn,
and the Defendant DUNYASHA YETTS acts in accordance with all
other terms of this agreement, the United States Attorney for the
Southern District of Ohio agrees to dismiss Counts 3, 4, 5, 6, 7,
8, 10, 11, 12 and 13 and to not file additional criminal charges
against Defendant based on his activities charged in the
Indictment, or based on other unlawful activities related to mail
fraud and/or narcotics in the Southern District of Ohio occurring
prior to the date of the Indictment and as to which the Defendant
gives testimony or makes statements pursuant to this agreement.

5. Defendant DUNYASHA YETTS agrees to testify truthfully
and completely concerning all matters pertaining to the
Indictment filed herein and to any and all other mail fraud
and/or narcotics activity in which he may have been involved or
as to which he may have knowledge. Defendant further agrees to
provide a complete statement to authorities of the United States

concerning such matters prior to the entry of his guilty plea
pursuant to this agreement. Defendant agrees to submit to
supplemental debriefings on such matters whenever requested by
authorities of the United States, whether before or after her
piea is entered.

Pursuant to §1B1.8 of the Federal Sentencing Guidelines, the
government agrees that any self-incriminating information so
provided will not be used against the defendant in determining
the applicable guideline range for sentencing, or as a basis for
upward departure from the guideline range.

6. By virtue of pleading guilty to Counts 1, @ and 3 of the
Indictment in exchange for the dismissal of Counts 3, 4, 5, 6, 7,
8, 10, 11, 12 and 13, the defendant understands that he is not a
prevailing party as defined by 18 U.S.C. §3006A (statutory note
captioned “Attorney Fees and Litigation Expenses to Defense”) and
hereby expressly waives his right to sue the United States.

7, The parties agree that the pursuant to U.S.S.G. 2F1.1(a)
(year 2000 Sentencing Guidelines) the base offense level
attributable to defendant DUNYASHA YETTS for the offenses to
which he is pleading guilty in Counts 1 and 2 is an offense level
of 6 (six). The parties agree that pursuant to §2F1.1(b) (1) that
the amount of loss is more than $1,500,000 but less than
$$2,500,000, which results in an increase of 12 {twelve} levels.
The parties further agree that pursuant to §2F1.1(b) (2) that the

offense involved more than one victim which results in an
increase of 2 (two) levels. The parties understand that these
agreements are not binding on the Court and the final
determination concerning relevant conduct and offense level rests
solely with the Court.

8. The parties agree that pursuant to U.S.S.G. §2D1.1{c),
the relevant conduct attributable to the defendant DUNYASHA YETTS
which can be proved by the United States independent of his
proffer, for the conspiracy to distribute marijuana offense to
which he is pleading guilty in Count 9, is at least 10 kilograms
but less than 20 kilograms of marijuana (or, in other words, a
base offense level of 16). The parties further understand that
this agreement is not binding on the Court and the final
determination concerning the quantity of marijuana to be
considered as relevant conduct for purposes of sentencing rests
with the Court.

9. The United States Attorney for the Southern District of
Ohio recommends that as of the time of the execution of this Plea
Agreement the defendant has accepted responsibility for the
offense(s) to which he has agreed to plead guilty. ff the
defendant continues to accept responsibility through the time of
sentencing, the United States will file a motion pursuant to
U.S.S.G. § 3E1.1(b) stating to the District Court that the
defendant has timely notified authorities of his intention to

plead guilty.
10. The parties have further agreed pursuant to U.S.8&.G.
§5El.1 and 18 U.S.C. §3663, that Defendant shall pay restitution
to the following victims as specified in the Indictment:
$262,176.82 to Joanna D. Nahay; $1,336,000,00 to Antoine
Winfield; $6,903.72 to Lois Bagent; $78,362.25 to Patrick
Leonard; $76,950.25 to Ronald Fisher; $44,033.51 to Gus and Lori
Dakis; and $20,000.00 to David Baust.

1l. Defendant understands that this agreement does not
protect him from prosecution for perjury, should he testify
untruthfully, or for making false statements, nor does it protect
him from prosecution for other crimes or offenses which the
United States discovers by independent investigation. Further,
should Defendant DUNYASHA YETTS fail to comply fully with the
terms and conditions set forth herein or should he fail to appear
as required for sentencing, this agreement is void and of no
effect, and Defendant shall be subject to prosecution as if the
agreement had never been made.

12. The Defendant is aware that the United States Sentencing
Guidelines and Policy Statements are no longer mandatory in
determining his sentence. However, the defendant aiso
understands that said guidelines and policy statements will be
given consideration by the District Court, in conjunction with
all other sentencing factors set forth in 18 U.S.C. §3553(a), to

determine the appropriate sentence, pursuant to U.S. v. Booker,
543 U.S. __, 2005 WL 50108 (January 12, 2005). The Defendant is
aware that the Court has jurisdiction and authority to impose any
sentence within the statutory maximum set forth for the offense
to which the Defendant pleads guilty. The Defendant is aware
that the Court has not yet determined a sentence. The Defendant
is also aware that any estimate of the probable sentencing range
under the sentencing guidelines that the Defendant may have
received From the Defendant's counsel, the United States, or the
probation office, is a prediction, not a promise, and is not
binding on the United States, the probation office, or the Court.
The United States makes no promise or representation concerning
what sentence the Defendant will receive and the Defendant cannot
withdraw a guilty plea based upon the actual sentence.

13. It is agreed that if the Court refuses to accept any
provision of this Plea Agreement, with the exception of
paragraphs 7, 8 and/or 9, neither party is bound by any of its
provisions, Defendant may withdraw his guilty plea, and the
United States Attorney for the Southern District of Ohio may
pursue prosecution of the same or additional charges without
prejudice.

14, Finally, the United States Attorney for the Southern
District of Ohio agrees that if Defendant DUNYASHA YETTS provides
substantial assistance in the investigation or prosecution of

others who have committed criminal offenses, the United States
Attorney may move the Court pursuant to 16 0.8.0. 93883 (a) and\or
HBERi.2 of the Federal Sentencing Guidelines fo: an appropriate
departure fsom the cthazwige eppiicabla quideline range for
defendant's sentence end will in conection therewith make Rmown
to the court the nature and extant of defendant's agedatance.
Dafendant understands that whather such motion should be made
lies within the disaretion of tha United states Atternay and chat
wheather and to What @xtent mich motion should ke granted are
solely matters for datermination by tha Court.

18. wo additional promises, agreements, tr conditions have
been mada relative to thie matter other than those expresaly set
forth herein, and none will ba mada unless in writing and eioned
by all partiag,

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Attorney fer Defendant

 
